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UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION

In re:
TOBY EDWARD TORRES,
Debtor.

COMPLETE INDUSTRIAL REPAIR, INC.,
Plaintiff,

v.

TOBY EDWARD TORRES,

Defendant.

Case No.: 2:23-bk-13864-DS
Chapter 7
Adv. No.: 2:23-ap-01426-DS

JOINT STIPULATION TO CONTINUE
PRETRIAL CONFERENCE, TRIAL AND
RELATED DEADLINES

Current Pretrial Conference
Date: October 29, 2024
Time: 1:00 p.m.

Current Trial

Date: November 12, 2024
Time: 10:00 a.m.

Proposed Continued Pretrial Conference
Date: November 12, 2024

Time: 1:00 p.m.

Proposed Trial

To be Determined

Plaintiff COMPLETE INDUSTRIAL REPAIR, INC. (“Plaintiff”) and Defendant TOBY

EDWARD TORRES (“Defendant”) (together the “Parties”), by and through their respective

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counsel of record, respectfully submit the following Stipulation to Continue the Pretrial
Conference and Trial as follows:

WHEREAS, the Court entered a Status Conference and Scheduling Order Pursuant to
LBR 7016-1(a)(4) [ECF No. 18] (“Scheduling Order”) on April 13, 2024, setting a pretrial
conference for October 29, 2024 and requiring a pretrial stipulation and order be filed by October
15, 2024;

WHEREAS, compliance with LBR 7016-1 required that counsel for both Parties meet
and confer by October 1, 2024;

WHEREAS, counsel for Plaintiff commenced a trial in an unrelated matter on September
9, 2024 continuing for two weeks in duration through September 20, 2024;

WHEREAS, counsel for Defendant is leaving the country for a pre-planned, two-week
vacation beginning September 19, 2024, during which period he will be in Southern Africa and
unavailable;

WHEREAS, as a result of the aforementioned scheduling conflicts, counsel for the
Parties have been unable to meet and confer as required by LBR 7016-1 prior to counsel for
Defendant’s scheduled vacation departure on September 19, 2024;

WHEREAS, counsel require additional time to complete their review and analysis of the
facts and evidence at issue, meet and confer to agree on stipulated facts, and to discuss potential
resolution;

NOW, THEREFORE, based on the foregoing facts, the Parties hereby stipulate and
request the Court to continue the Pretrial Conference to November 12, 2024, or a date thereafter

that is convenient for the Court, vacate the trial date to a date thereafter that is convenient for the

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Court and continue the deadline to file a pretrial stipulation and pretrial order to October 28,

2024.

Dated: 9/19/2024
LAW OFFICE OF FRANK MARCHETTI

/s/ Frank Marchetti
FRANK MARCHETTI
Attorney for Plaintiff

Dated: 9/19/2024
HESTON & HESTON

Attorneys at Law

/s/ Richard G. Heston
RICHARD G. HESTON
Attorney for Defendant

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

19700 Fairchild Road, Suite 280
Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): Joint Stipulation to Continue Pretrial
Conference, Trial, and Related Deadlines will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/19/2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

¢ Howard M Ehrenberg (TR) — ehrenbergtrustee@gmlaw.com,
ca25@ecfcbis.com;C123 @ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files
@gmlaw.com

¢ Frank E Marchetti frank@marchettilaw.com, marchettilaw@gmail.com

¢ United States Trustee (LA)  ustpregion16.la.ecf@usdoj.gov

L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/19/2024, | served the following persons and/or entities at the last known addresses in this bankruptcy case or

adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Honorable Deborah J. Saltzman

United States Bankruptcy Court

Central District of California

Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1634, Courtroom 1639
Los Angeles, CA 90012

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed.

L] Service information continued on attached page
| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

9/19/2024 Yanira Flores /s/ Yanira Flores
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

F 9013-3.1.PROOF.SERVICE

June 2012
